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           In the United States Court of Federal Claims
                                    Filed: December 15, 2017


     IN RE ADDICKS AND BARKER
     (TEXAS) FLOOD-CONTROL
     RESERVOIRS                                          Master Docket No. 17-3000L



     THIS DOCUMENT APPLIES TO:

     ALL CASES



                                    SCHEDULING ORDER

       On November 20, 2017, the court issued a series of Orders to “secure the just, speedy, and
inexpensive determination” of these cases. RCFC 1; ECF Nos. 67, 68, 69, 70.

       On December 1, 2017, the Government filed a Motion To Vacate The Court’s November
20, 2017 Orders. ECF No. 100.

        On December 8, 2017, the court issued a Memorandum Opinion And Order Denying The
Government’s Motion To Vacate The Court’s November 20, 2017 Orders. ECF No. 106 (re-
docketed for administrative purposes as ECF No. 107). The December 8, 2017 Memorandum
Opinion And Order, however, informed the parties that the court is willing to consider alternative
“reasonable and instructive recommendations about how to adjudicate jurisdiction and dispositive
issues in these cases” and directed the parties to file any responsive submissions with the court by
5:00 PM (EST) on December 18, 2017.

        To consider the December 18, 2017 filings, the court will convene a hearing on
Wednesday, December 20, 2017, at 10:30 AM (CST) in Courtroom 10-B in the United States
District Court for the Southern District of Texas, 515 Rusk Street, Houston, Texas. Although the
December 20, 2017 hearing will be open to the public, only those Plaintiffs’ Co-Counsel appointed
in the court’s November 20, 2017 Orders and the Government Counsel will be recognized to
address the court.

       IT IS SO ORDERED.

                                                     s/ Susan G. Braden
                                                     Susan G. Braden
                                                     Chief Judge
